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                      UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF IDAHO


  UNITED STATES OF AMERICA,
                                              Case No. 1:18-cr-00258-BLW
        Plaintiff,
                                              AMENDED ORDER ADOPTING
         v.                                   REPORT AND
                                              RECOMMENDATION
  ARTUR PUPKO,

        Defendant.



      On September 25, 2019, Defendant Artur Pupko appeared before the

Magistrate Judge to enter a change of plea pursuant to a written plea agreement.

The Magistrate Judge conducted the plea hearing and concluded there is a factual

basis for Defendant’s admission to forfeiture and plea of guilty to the charges

contained in Counts 31, 32, and 33 of the Superseding Indictment (Dkt. 210), and

that they were entered voluntarily and with full knowledge of the consequences.

See Transcript, Dkt. 455. The Magistrate Judge issued a Report and

Recommendation, to which no party objected. Dkt. 308 This Court subsequently

issued an order adopting the Report and Recommendation. Dkt. 311.

      Upon further review, the Court has recognized that both the Report and

Recommendation and the order adopting the Report and Recommendation suggest



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that Mr. Pupko plead guilty to Counts 32, 33, and 34. But the hearing transcript

and the plea agreement both indicate that Mr. Pupko intended to and in fact did

plead guilty to Counts 31, 32, and 33. In fact, while Count 31 contains and

allegation against Mr. Pupko, Count 34 concerns his co-defendant.

      ACCORDINGLY, IT IS HEREBY ORDERED that the Defendant’s plea of

guilty to the crimes charged in Counts 31, 32, and 33 of the Superseding

Indictment (Dkt. 210) shall be, and the same is hereby, ACCEPTED by the Court

as a knowing and voluntary plea supported by an independent basis in fact

containing each of the essential elements of the offense.

      IT IS FURTHER ORDERED that Defendant Artur Pupko is found to be

GUILTY ONLY as to the applicable crimes charged in the Superseding

Indictment. (Dkt 210). To the extent that this order conflicts with the Court’s

previous order (Dkt. 311), this order supersedes that order.



                                              DATED: July 25, 2022


                                              _________________________
                                              B. Lynn Winmill
                                              U.S. District Court Judge




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